
27 U.S. 554 (____)
2 Pet. 554
DAVID CANTER, APPELLANT
vs.
THE AMERICAN AND OCEAN INSURANCE COMPANY OF NEW YORK, APPELLEE.
Supreme Court of United States.


*555                    PETEGRU &amp; CRUGER, Proctors for Libellant.

The motion was supported by Mr Cruger for the appellees, and opposed by Mr Coxe and Mr Webster for the appellant.
Mr Chief Justice MARSHALL delivered the opinion of the Court.
The motion made is, to dismiss this case for want of jurisdiction. But a motion to dismiss a suit, for want of jurisdiction, applies solely to cases where this Court has not jurisdiction of the cause, and not to cases where the circuit court has exceeded its proper powers in the particular case. In the present case, this Court has, certainly, jurisdiction to revise the decree complained of in the circuit court. Whether that decree was proper or not, after the mandate of this Court, is matter for discussion upon an argument upon the merits of that decree; but not on a motion like the present. The motion is, therefore, overruled.
